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 UNITED STATES DISTRICT COURT
 EASTERN DISTRICT OF NEW YORK
                                                            -X


  UNITED STATES OF AMERICA,
                                                                          MEMORANDUM & ORDER
                 -against-
                                                                                18-CR-204-1(NGG)
  KEITHRANIERE,

                                 Defendant,
                                                            -X
  NICHOLAS G. GARAUFIS,United States District Judge.

         Defendant Keith Raniere has been indicted on charges ofsex trafficking by force, threat

  offeree, jfraud, or coercion; conspiracy to commit sex trafficking by force, threats offorce, fraud,

  or coercion; and conspiracy to cause another to engage in forced labor. (Indictment(Dkt. 14)

 IITI1-3.) On June 5,2018, he filed a motion for release on bail pending trial, which the

  Government opposed. (Def. Mot.for Pretrial Release("Def. Mot.")(Dkt. 43); Gov't Opp'n to

  Def. Mot.("Gov't Opp'n")(Dkt. 44); Def. Reply, in Supp. ofDef. Mot.("Def. Reply")(Dkt.

  45).) On June 12,2018,the court denied the motion without prejudice and stated on the record

  its reasons for doing so. (See Tr. of June 12,2018, Hr'g("Hr'g Tr.")(Dkt Number Pending).)

  TTie court issues this opinion to provide a fuller statement ofits reasons.

  I.     BACKGROUND

         Defendant is the founder and philosophical leader ofNxivm,a self-help organization

  headquartered in Albany, New York,that offers "classes promising personal and professional

  development." (Compl.(Dkt. 1)fl 3-6; Def. Mot. at 5-6.) In his own words. Defendant is an

 "ethicist" whose "ethical teachings ... have focused on raising the level of humanity within each

  person." (Def. Mot. at 5.) According to the Government,Nxivm "operates largely in secrecy"

  and "maintains features ofa multilevel marketing scheme,commonly known as a pyramid

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  scheme, in which members are recruited via a promise of payments or services for enrolling

  others into the scheme." (Compl.          7-8.)

          This case stems from allegations that Raniere oversaw an otherwise all-female "secret

  society," going by the name"DOS"or "The Vow," within Nxivm. Qd. T[ 11.)^ According to the

  Government,DOS also operates as a pyramid scheme, in which more senior women in the

  organization (referred to as "masters") recruit more junior women (referred to as "slaves")to

  serve them and "masters above them in the DOS pyramid." (Id H 13.) To join DOS,a "slave"

  must turn over "collateral"(for example, confessions to crimes, statements accusing loved ones

 of crimes and other bad acts, and embarrassing personal material)that can be released ifthe

 "slave" leaves DOS,reveals its existence, or fails to perform her DOS obligations. Qd               15-16,

  18-19.) DOS obligations include serving the "masters," engaging in "acts of self-denial," and

 performing "readiness drills" night or day. (Id           20-21,25-29.) According to the Government,

 DOS "slaves" were also required to have sex with Defendant, whose role as the ultimate DOS

 "master" was concealed from all but the highest-ranking DOS "slaves"; to maintain low-calorie

 diets to conform to Defendant's alleged preferences; and,in some cases, to be branded with

 Defendant's initials and/or those of his co-defendant, Allison Mack. Qd                17,22-24, 30-32.)

          Defendant does not dispute that DOS exists, that DOS members were required to provide

 "collateral" as a condition ofjoining the organization, or that several DOS members were

 branded. (Def. Mot. at 6-8.) He argues, however, that DOS was not formally connected to

 Nxivm, and that DOS members voluntarily joined the organization, provided "collateral," and




 ^ The Government alleges that"DOS" standards for"Dominus Obsequious Sororium," a broken Latin phrase
   roughly translating to "Lord/Master ofthe Obedient Female Companions." (Compl. If 11 n.1.)
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  agreed to be branded. Qd.) He also argues that the "collateral" was never connected to a

  requirement to have sex with him (or anyone else) and that the collateral was never actually

 released. (Id.: see also id. at 16-17.)

         According to the Government,the existence ofDOS became public in mid-2017

 following the defection ofa DOS "slave" who was also a high-ranking Nxivm member. (Compl.

 ^33.) In mid-October 2017, The New York Times published an article that relayed a number of

  disturbing allegations about Nxivm and DOS. See Barry Meier,Inside a Secretive (jroup Where

  Women are Branded. N.Y. Times(Oct. 17,2017), at Al. Several weeks later,"after the FBI

  began interviewing witnesses," Raniere allegedly flew to Mexico, where he lived in a gated

 resort in Puerto Vallarta. (Compl.^ 35; Gov't Opp'n at 8.)

         On March 26,2018, Defendant was detained by Mexican authorities, deported to the

  United States, and arrested in connection with this case. (Def. Mot. at 8-9.) The Government

 sought a permanent order of detention, arguing that Defendant posed both a flight risk and a

  danger to the community. (Gov't Mar. 26,2018, Letter in Supp. of Order ofDetention("Gov't

  Mar. 26 Ltr.")(Dkt. 4).) On April 13, 2018, Magistrate Judge Steven Tiscione entered an order

 of detention without prejudice to Defendant's presentation of a bail package. (Apr. 13,2018,

  Min. Entry; Order of Detention(Dkt. 13).)

         On June 5, 2018, Defendant presented this court with the instant bail motion. In it.

 Defendant proposes that he should be released pending trial, subject to a number of conditions.

 rSee Def. Mot, at 3-4.) First, Defendant would sign a $10 million bond. (Id at 3.) His travel

  would be restricted to the Southem and Eastern Districts ofNew York, and he would surrender

 his passport and agree not to secure new travel documents. (Id) He would be confined to a

 residence selected by a private security company and would be subject to both GPS monitoring
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  and round-the-clock supervision by two armed guards. (Id at 4.) He would have access to a

  computer and telephone, but the computer would lack internet access and would be used only to

  review materials related to this case, and the telephone would be used only to make and receive

  calls to and from phone numbers agreed to by the Government,including those of his counsel

  and the mother of his child. (Id) Finally, he would not have contact, outside the presence of his

  coxmsel, with his co-defendant(s), alleged co-conspirators, or any other current or former affiliate

  ofNxivm or any affiliated entity. (Id.)

  n.     DISCUSSION

         Pretrial detainees have a right to bail under both the Eighth Amendment to the U.S.

  Constitution, which prohibits the imposition of"[e]xcessive bail," as well as the Bail Reform

  Act, 18 U.S.C. § 3141 et seq. Under the latter, the court must release a defendant "subject to the

  least restrictive further condition, or combination of conditions,that [it] determines will

  reasonably assure the appearance ofthe person as required and the safety ofany other person and

  the community." 18 U.S.C. § 3142(c)(1)(B). Only if, after considering the factors set forth at 18

  U.S.C. § 1342(g), the court determines that"no condition or combination of conditions will

  reasonably assure the appearance ofthe person as required and the safety of any other person and

 the community" may the court order the defendant to be held without bail. Id § 3142(e)(1).

         If, however,there is probable cause to find that the defendant committed one ofthe

  offenses specifically enumerated by § 3142(e)(3), a rebuttable presumption arises "that no

  condition or combination of conditions will reasonably assure" the defendant's appearance or the
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  safety ofthe community or others. Id § 3142(e)(3).^ Where such a rebuttable presumption

  arises,"the defendant 'bears a limited burden ofproduction ...to rebut that presumption by

  coming forward with evidence that he does not pose a danger to the community or a risk of

  flight.'" United States v. English. 629 F.3d 311,319(2d Cir. 2011)(quoting United States v.

  Mercedes. 254 F.3d 433,436(2d Cir. 2001)); see also United States v. Rodriguez. 950 F.2d 85,

  88(2d Cir. 1991)("[A] defendant must introduce some evidence contrary to the presumed fact in

  order to rebut the presumption."(emphasis added)). Ifthe defendant offers such evidence,the

  presumption favoring detention does not fall away but "remains a factor to be considered among

  those weighed by the district court" under 18 U.S.C. § 3142(g). English. 629 F.3d at 319

 (quoting Mercedes. 254 F.3d at 436). Even in such a "presumption case," however,"'the

  government retains the ultimate burden of persuasion by clear and convincing evidence that the

  defendant presents a danger to the community,' and 'by the lesser standard of a preponderance of

  the evidence that the defendant presents a risk offlight.'" Id.(quoting Mercedes. 254 F.3d at

  436); see also United States v. Martir. 782 F.2d 1141, 1144(2d Cir. 1986).

           A.      Defendant Is Subject to the Presumption in Favor of Detention

           As the parties agree, this is such a "presumption case." (Def. Mot. at 21 n.8; Tr. of June

  12,2018,Hr'g("Hr'g Tr.")(Dkt. Number Pending)30:3-7.) The Bail Reform Act's list of

  enumerated offenses includes any "offense under chapter 77 ofthis title for which a maximum

  term ofimprisonment of20 years or more is prescribed." 18 U.S.C. § 3142(e)(3)(D). That

  describes all three offenses with which Defendant has been charged. Each offense is proscribed




  ^ A different rebuttable presumption arises ifthe defendant recently committed one of certain offenses while on
    release pending trial. See id. § 3142(e)(2). This case does not implicate this presumption.
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  by Chapter 77 of Title 18 ofthe U.S. Code. The sex-trafficking and sex-trafficking conspiracy

  charges are both punishable by up to life in prison,^18 U.S.C. §§ 1591(b)(1), 1594(c), and the

  forced-labor-conspiracy charge is punishable by up to 20 years' imprisonment, see 18 U.S.C.

  §§ 1589(d), 1594(b). And Defendant's indictment by a grand jury conclusively establishes that

  there is probable cause to beUeve that he committed the offenses charged in the indictment. See

  United States v. Contreras, 776 F.2d 51,53(2d Cir. 1985). Thus,the court begins with the

  presumption that no condition or combination of conditions of pretrial release will reasonably

  assure the Defendant's appearance and the safety ofthe community. S^ 18 U.S.C. § 3142(e)(3).

         B.      Defendant Is a Flight Risk Notwithstanding the Proposed Conditions

         The court next considers whether Defendant has introduced evidence rebutting the

  statutory presumption that he is a flight risk and a danger to the community and others. In

 support of his bail motion. Defendant has attached several photographs ofimmigration

 documents, as well as receipts for flights and a canceled reservation for an Airbnb in Canada.

 (See Def. Mot., Exs. 1-7,9(Dkts. 43-1 to 43-7, 43-9).) He contends that these documents

 undermine the Government's account that he traveled to Mexico in November 2017 to flee from

 law enforcement, and instead corroborate his explanation that he traveled to Mexico in October

 2017 to be with the mother of his child, a Mexican citizen whose U.S. visa was expiring. (Def.

 Mot. at 12-14.) Defendant has also provided the court with a copy ofa document,filed in the

 New York Surrogate's Court, Saratoga County,in January 2018,ia which he renounced his

 appointment as executor to the estate of his deceased romantic partner, Pamela Cafiitz. (See

 Renunciation ofNominated Executor and/or Trustee(Dkt. 43-8).) This document was notarized

 by a Mexican notario publico who provided his name and location (Guadalajara, Jalisco) on an
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  apostille to the document. rSee id. at ECF p.7.) Defendant argues that the fact that he filed this

  document in state court shows that he did not conceal his location from U.S. authorities.

           Defendant has carried his "limited burden ofproduction ... by coming forward with

  evidence that he does not pose a... risk offlight." English. 629 F.3d at 319(intemal quotation

  marks and citation omitted). That is not to say that this evidence is particularly persuasive: As

  the court explains further below,these documents only weakly support Defendant's account that

  his relocation to Mexico, use of encrypted email, and decision to stop using his phone had

  nothing to do with law enforcement's increased interest in him following publication ofthe New

  York Times article. Because Defendant has provided "some evidence" that he is not a flight risk,

  the court turns to whether the Government has carried its ultimate burden of persuasion on this

  issue.      Rodriguez. 950 F.2d at 88. (Because, as stated below,the court denies Defendant's

  motion based on a finding that he poses a flight risk, it need not decide whether he has proffered

  any "evidence that he does not pose a danger to the community." See English. 629 F.3d at 319

 (intemal quotation marks and citation omitted).)

           The court considers the question of whether the Government has shown that there are no

  conditions ofrelease sufficient to reasonably assure Defendant's appearance before the court in

  light ofthe factors listed by 18 U.S.C. § 3142(g):

                 (1)the nature and circumstances of the offense charged, including
                 whether the offense is a crime ofviolence, a violation of[18 U.S.C.
                 §] 1591, a Federal crime ofterrorism, or involves a minor victim or
                 a controlled substance,firearm, explosive, or destructive device;

                 (2)the weight ofthe evidence against the [Defendant];

                 (3)the history and characteristics ofthe [Defendant],includiug—

                        (A) the [Defendant]'s character, physical and mental
                        condition, family ties, employment, financial resources.
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                         length of residence in the commiinity, community ties, past
                         conduct, history relating to drug or alcohol abuse, criminal
                         history, and record concerning appearance at court
                         proceedings; and

                        (B) whether, at the time ofthe current offense or arrest, the
                        [Defendant] was on probation, on parole, or on other release
                        pending trid, sentencing, appeal, or completion of sentence
                         for an offense under Federal, State, or local law; and

                 (4) the nature and seriousness of the danger to any person or the
                 community that would be posed by the [Defendant's] release....

  As the court explains below, these factors, taken together, support the conclusion that Defendant

  remains a flight risk notwithstanding his proposed bail conditions.

                 1.      The Nature and Circumstances ofthe Offense Charged

         The first § 3142(g)factor weighs heavily in favor of continued detention. This factor

  specifically directs the court to consider whether the defendant seeking pretrial release has been

  charged with "a violation of[18 U.S.C. §] 1591," a sex-trafficking statute that Defendant has

  been charged with violating and conspiring to violate. "By specifically enumerating the type of

  violation alleged here,the statute suggests that [Defendant]'s alleged actions militate in favor of

  detention." United States v. Goodwin, No. 15-CR-lOl,2015 WL 6386568, at *2(W.D.Ky. Oct.

  21,2015).

         The offenses with which Defendant has been charged are also subject to extremely

 lengthy sentences. If convicted, Defendant faces a maximum sentence of life imprisonment for

  the sex-trafficking and sex-trafficking-conspiracy charges, as well as up to 20 years'

  unprisonment for the forced-labor-conspiracy charge.          18 U.S.C. § 1591(b)(1)(sex

  trafficking by force, threat, firaud, or coercion); id. § 1594(c)(conspiracy to violate § 1591); id.
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  §§ 1589(a),(d), 1594(b)(forced-labor conspiracy).^ Additionally, Defendant faces a 15-year

  statutory minimum sentence ifconvicted on the substantive sex-trafficking charge. Id

  § 1591(b)(1). Faced with the possibility that, if convicted, he may spend the rest ofhis life in

  prison. Defendant clearly has "a strong motive to flee." United States v. Sabhnani. 493 F.3d 63,

  76(2d Cir. 2007k see also United States v. Khusanov. —F.App'x—,2018 WL 1887339, at *1

 (2d Cir. 2018)(summary order).

                   2.       The Weight ofthe Evidence

          The second § 3142(g)factor weighs at least weakly in favor of detention. There appears

  to be substantial evidence against Defendant. A grand jury has determined that there is probable

  cause to believe that Defendant committed the charged offenses. The Government has also

  proffered a number oftext messages sent by Defendant that suggest that, as the Government puts

  it. Defendant"created DOS,"that "there was a significant sexual component to DOS and that

  some DOS slaves would be recruited to have sex with [him]," and "that his identity as the head

  ofDOS would be concealed from some DOS slaves." (Gov't Opp'n at 3; s^ id. at 3-6.)

          There are, however,reasons to proceed cautiously at this point in the proceedings. From

  Defendant's motions and his counsel's statements to the court, it appears that his defense will

  rely heavily on arguments that the so-called "DOS slaves"joined and remained in the group

  willingly and that they engaged in any sexual activity with him consensually, not because they

  feared that their "collateral" would be released. (See, e.g.. Def. Mot. at 17.) Defendant also

  contends that "there is no evidence that anyone engaged in a commercial sex act, within the




  ^ Violations of 18 U.S.C. § 1589 that"includeQ ... aggravated sexual abuse" are punishable by up to life
   imprisonment. Id § 1589(d). The Government has not, however, charged Defendant with an aggravated-sexual-
   abuse enhancement.

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  meaning ofthe [sex-trafficking] statute." (Id) At this early stage in the case,the court lacks

  sufficient evidence from which to make a confident assessment as to the strength ofthe

  Government's case on these points.

                 3.       Defendant's History and Characteristics

         The third § 3142 factor, however, weighs especially strongly in favor of detention,

  notwithstanding Defendant's proposed conditions of bail.

                          a.     Defendant is aflight risk

         Defendant's history and characteristics strongly support the conclusion that he is a flight

  risk. Certain aspects of Defendant's history and characteristics weigh in his favor. He is a

  longtime resident of upstate New York, and the court is not aware of any indication that he has a

  prior record of arrests or convictions, a substance-abuse problem, or a history of missed court

  appearances.        18 U.S.C. § 1342(g)(3)(A). Nor was he on probation, parole, or other release

  at the time of his arrest for the charged offenses. See id. § 1342(g)(3)(B). The court is troubled,

  however,by evidence of Defendant's conduct in recent months,his lack ofan ordinary job or

  personal fmancial resources that could secure a meaningful bond, and his apparent access to

  extensive financial resources supplied by anonymous third parties. These factors all point to a

  substantial risk offlight.

         First, the court finds that it is more Hkely than not that Defendant moved to Mexico last

  fall at least partly to elude law enforcement. Despite having little history ofinternational travel.

  Defendant relocated to Mexico soon after attention turned to his alleged activities in connection

  with Nxivm and DOS. The Government avers that, while in Mexico, Defendant also began

  using end-to-end encrypted email and stopped using his phone. (Gov't Mar. 26 Ltr. at 6; Gov't



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  Opp'n at 8.) As a result, the Govemment avers, it took a month and a halffor authorities to track

  Defendant down.


         Defendant has innocent explanations for his change ofscenery and behavior. He avers

  that he traveled to Mexico last October to be with his child and with the child's mother when her

  U.S. visa expired. (Def. Mot. at 12-14.) While he admits to using different phones and email

  addresses, he states that he did so not to evade authorities but to evade an anti-Nxivm group that

  he says harassed bim for years. (Id at 15.) Finally, he contends that the Govemment was, or

  should have been, aware of his location because ofthe document he filed in Saratoga County

  Surrogate's Court and because "his attomey left a phone number with the Department ofJustice

  on two occasions by which he could be reached." (Id at 14, 15.)

         These explanations are not persuasive. While it may be the case that Defendant traveled

  briefly to Mexico in October to be with the mother of his child in Monterrey,that does not

  explain why he traveled back to Mexico the following month—or why, when he did, he moved
  hundreds of miles away,to Puerto Vallarta. fSee Hr'g Tr. 18:23-19:14.) IfDefendant had been

  seeking to avoid anti-Nxivm activists, not the Govemment,it is not clear why he would have

  stopped using his phone entirely, as the court is not aware ofhow the former would have the

  ability to track Defendant's phone. That Defendant's attomey left a callback number with

  prosecutors does not imply that Defendant was forthcoming with authorities about his location.
  Finally^ the court does not see how law enforcement could have inferred that Defendant was

  residing in Puerto Vallarta from the fact that he filed in Saratoga County Surrogate's Court a

  document notarized in Guadalajara, about a five-hour drive from Puerto VaUarta.         Directions

  from Guadalajara, Jalisco, to Puerto Vallarta, Jalisco, Google Maps,


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  https://www.google.coni/maps/dir/Guadalajara,+Jalisco,+Mexico/Puerto+Vallarta,+Jalisco,+Me

  xico/(last visited June 14,2018).

          Second,the court also has grave concerns about Defendant's financial situation.

  According to Defendant's financial affidavit, he is self-employed and has no income or assets

  other than a partial interest in a home in Clifton Park, New York, worth approximately $60,000.

  (Financial Aff (Dkt. 44-2).) Even accepting that this affidavit is truthful. Defendant has little to

  lose if he were to flee, and nothing with which to secure a meaningful personal bond. (But see

  Gov't Mar. 26 Ltr. at 4(stating that Defendant has made purchases using a credit card in the

  name of a deceased romantic partner and has drawn extensively on a bank account in her name

  containing $8 million).) Besides having no income or assets of his own. Defendant also appears

  to have access to enormous financial resources contributed by anonymous third parties. The

  Government contends that Defendant is financially backed by "independently wealthy women,"

  including a liquor-fortune heiress whom the Government contends has provided Defendant with

  millions of dollars and access to private air travel and to a private island m Fiji. (Gov't Mar. 26

  Ltr. at 4.) Indeed,Defendant himself proposes that he should be released into home detention,

  guarded by a private security company at a cost of at least $40,000 per month,to be paid for by

  an unidentified trust funded by anonymous third parties. (Gov't Opp'n at 7 n.7.) This

  arrangement only imderscores the court's concern that Defendant may have access to extensive

  but unknown financial resources.

          In light ofthese concerns, the court must conclude that Defendant poses a serious risk of

  flight if he is released pending trial.




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                         b.     The proposed conditions ofrelease do not adequately mitigate this
                        risk

         Defendant's proposed conditions ofrelease do not mitigate these concerns. Defendant

  proposes release on a $10 million bond, but the court views such a bond as basically worthless in

  light of Defendant's lack of personal assets. Without anything to offer as collateral. Defendant

  would have nothing to lose if he were to flee. Nor does Defendant offer a surety (such as a

  family member or other loved one)who would stand to lose something if he were to flee.

  Accordingly, as his counsel admitted at oral argument,the court lacks any moral suasion over

  Defendant to induce him to remain here and face trial. (Hr'g Tr. 13:18-14:2,17:7-9.)

         To compensate for his inability to post such collateral. Defendant proposed an

  "admittedly unorthodox" bail package, under which round-the-clock armed guards would be

  responsible for keeping him confined to a selected residence. (Id 16:23) While the court

  commends Defendant's counsel for both his creativity in structuring this proposal and for his

  candor in describing it to the court,the proposal does not mitigate Defendant's flight risk.

         Defendant seems to accept that armed guards are necessary to ensure his appearance at

  trial. As the Second Circuit has observed, however,the conclusion that "deadly force may need

  to be used to assure defendant['s] presence at trial.... would,in fact, demand a defendant's

  detention." Sabhrtanf 493 F.3d at 74 n.13. As other courts in this circuit have mused,"What

  more compelling case for an order of detention is there than a case in which only an aimed guard

  and the threat of deadly force is sufidcient to assure the defendant's appearance?" United States

  V. Zairab. No. 15-CR-867(RMB),2016 WL 3681423, at *12(S.D.N.Y. June 16,2016)(quoting

  United States v. Valerio. 9 F. Supp. 3d 283, 295(E.D.N.Y. 201411: see also United States v.

  Colorado-Cebado. No. 13-CR-458,2013 WL 5852621, at *6(W.D. Tex. Oct. 30, 2013).


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         It is also not clear that these guards could actually prevent Defendant from fleeing, if he

  were to attempt to escape. Defendant indicated that he would consent in advance to the use of

  force against him if he attempted to escape, but he would not—^nor, it seems, could he—consent

  to the use of deadlv force against him. (Hr'g Tr. 11:22-12:1.) Nor could Defendant consent to

  the use of deadly force against any Nxivm or DOS acolytes who might plausibly attempt to help

  him escape. tSee Gov't Opp'n at 12.) As the Government also correctly notes, any escape

  attempt would also present the risk ofa confrontation between armed guards and Defendant(or

  his followers)in the streets ofNew York City, which would mean that any reduction in the

  Defendant's flight risk from this proposal would be at least partially offset by a greater risk to the

  community. CSee id.)

         Nor does the court have any basis for concluding that the proposed private security firm

  could keep Defendant confined. The court in no way impugns the private security firm that

  Defendant has proposed. This firm appears to employ a number of experienced law-enforcement

  veterans, and it would surely have a strong reputational incentive to keep Defendant confined.

  The court nevertheless has general concerns about the use of a private security company to

  monitor a defendant's home confinement, particularly where the company has been chosen by

  the defendant, where the Government "exercises no hiring, training, or supervisory control" over

  it, Valerio.9 F. Supp. 3d at 295,and where the court knows nothing about the individuals who

  would be responsible for monitoring the defendant on a day-to-day basis. ^Sabhnani.493

  F.3d at 78(noting that, in that case,the government had chosen the private firm responsible for

  monitoring the defendant's home confinement, so it was "not a case in which government

  reservations about either the competency or integrity of a private security firm might give a court

  pause about the effectiveness of home confinement in deterring flight"). These generalized
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  misgivings about the use of private security firms in this context are exacerbated by the unique

  circumstances ofthis case,in which Defendant is accused ofrunning an organization with a

  number of devoted adherents,faces strong incentives to flee, and may have access to substantial

  financial resources. In such a case, broad assurances about the private security company's

  experience or reputational incentives are no substitute for an actual jail.    Valerio. 9 F. Supp.

  3d at 295.

         Finally,the court is also troubled by the lack of clarity about who would actually pay for

  these armed guards. As Defendant cryptically avers in his reply, the guards would be "paid by

  an irrevocable trust fimded by third-party contributors." (Def. Reply at 2.) His proposed bail

  package offered no information about the terms ofthe trust, its corpus, or its settlors. Indeed, at

  oral argument, it emerged that the parties did not know to a certainty exactly who was funding

  the trust(although they speculated that the aforementioned liquor-fortune heiress was

  responsible). (Hr'g Tr. 22:21-28:2.) The court cannot make a reasoned assessment ofthe

  adequacy ofDefendant's proposed home confinement without knowing who would actually pay

  for Defendant's round-the-clock armed guards.

                 4.      The nature and seriousness ofthe danger to anv person or the communitv
                 that would be posed bv Defendant's release.

         Fourth, the court concludes that the last § 3142 factor also weighs in favor of detention.

  Defendant is charged with serious felonies based on his alleged role in running a secretive, cult

  like organization in which "slaves" are allegedly branded with his initials and tasked with

  serving him and other senior members ofthe organization. In light ofthese charged offenses,

  see United States v. Nikolow,534 F. Supp. 2d 37, 39(D.D.C. 2008), and the Government's

  representations that Nxivm critics and defectors have faced harassment(Gov't Mar. 26 Ltr. at 5,

                                                       15
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  7; Gov't Opp'n at 12 n.ll), there is at least some risk that if Defendant is released, he may

  unlawfully exploit women or obstructjustice.

                 5.      The presxunntion in favor of detention.

         Finally, the court notes again that Defendant has been charged with offenses triggering a

  presumption of detention. Although he has rebutted that presumption by introducing evidence

  that he is not a flight risk, the presumption remains to be considered by the court alongside the

  aforementioned four § 3142(g)factors.

                                           *       *        *




         The court concludes that the Government has easily shown that Defendant's proposed

  conditions are insufficient to reasonably assure his appearance. Because it is at least conceivable

  that Defendant could address the court's concerns, this denial is without prejudice to refiling a

  revised bail package. Because the court determines that Defendant remains a flight risk

  notwithstanding the proposed bail conditions, it need not consider at this time whether the

  Government has also shown by clear and convincing evidence that no condition or set of

  conditions would reasonably assure the safety of others and the community.

  in.    CONCLUSION

         Defendant's motion for release on bail(Dkt. 43)is DENIED without prejudice.

         SO ORDERED.


                                                                         s/Nicholas G. Garaufis
  Dated: Brooklyn, New York                                           IjflCHOLAS G. GARAUFI:
         June £2,2018                                                 United States District Judge




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